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 February 13, 2019                                                  S UITE 2500
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 VIA ECF                                                            K ELLY J ONES HOWELL

                                                                    DIRECT:  (212) 912-3652
 Honorable Michael A. Shipp                                         F AX :   (212) 687-0659
                                                                    KHOWELL @HARRISBEACH . COM
 U.S. District Court for the District of New Jersey
 Clarkson S. Fisher Federal Building & U.S. Courthouse
 402 East State Street
 Trenton, New Jersey 08608

       Re:    NewMarket Pharmaceuticals, LLC v. VetPharm, Inc., et al.,
              Civil Action No. 3:17-cv-01852-MAS-TJB

 Dear Judge Shipp:

        I am counsel for defendants VetPharm, Inc. and Denni O. Day (collectively,
 “VetPharm”) in the referenced action. I submit this letter in response to the letter
 filed on February 11, 2019, by counsel for plaintiff NewMarket Pharmaceuticals,
 LLC (“NewMarket”) (ECF Doc. No. 103), requesting “emergency clarification” of
 this Court’s order dated December 12, 2018 (ECF Doc. No. 101). For the reasons
 set forth below, VetPharm submits that no such clarification is needed and that
 NewMarket’s application is now moot.

        The Court’s December 12 order provided that “[t]he Parties shall return to
 arbitration by February 12, 2019,” and that “if NewMarket fails to comply with the
 Court’s order requiring the parties to submit to arbitration within sixty days,” then
 VetPharm could renew its motion to dismiss this action (ECF Doc. No. 101). In a
 letter dated February 6, 2019, NewMarket took the position that VetPharm was
 responsible for initiating an arbitration proceeding with AAA.1 VetPharm
 responded by letter dated February 8, 2019, explaining its position that the onus
 was on NewMarket, as the claimant, to file a demand for arbitration.2 (NewMarket
 inexplicably chose not to submit to the Court copies of the letters that prompted its
 “emergency clarification” motion.)




 1
    A copy of the December 6, 2018 letter from NewMarket’s counsel is attached
 as Exhibit A to this letter.
 2
   A copy of the December 8, 2018 letter from VetPharm’s counsel is attached as
 Exhibit B to this letter.
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 Honorable Michael A. Shipp, U.S.D.J.
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         NewMarket’s application is now moot. Yesterday, NewMarket purported to
 initiate an arbitration proceeding with AAA by filing a demand for arbitration.3
 NewMarket did not, however, pay the administrative filing fee required by AAA.
 Despite the fact that it is still represented by the white-shoe law firm of
 Cadwalader Wickersham & Taft LLP, NewMarket has claimed an exemption from
 the filing fee for “extreme hardship” under Rule 53 of the AAA Commercial
 Arbitration Rules. It is unclear at this time whether AAA will accept NewMarket’s
 claimed hardship exemption and whether it will consider the arbitration proceeding
 to be properly filed. If it does, VetPharm is fully prepared to participate in the
 arbitration and will submit an answer (together with any counterclaim that it may
 assert) in compliance with AAA’s Rules. If AAA rejects NewMarket’s filing, and
 if NewMarket thereafter declines to pay the requisite filing fee, then VetPharm
 may make an appropriate application to this Court seeking dismissal of this action
 due to NewMarket’s failure to arbitrate its claim.

        In all events, there is no basis for NewMarket’s suggestion that VetPharm
 has waived any claim that it may assert, or that VetPharm has otherwise acted
 inconsistent with its rights to demand arbitration. The cases cited by NewMarket
 do not support its position. VetPharm withdrew its earlier arbitration claim when
 NewMarket refused to pay its share of the fees, and does not read this Court’s
 earlier order as foreclosing it from re-filing its claims in arbitration should
 NewMarket become other than impecunious within the period of the statute of
 limitations on its claim for payment. VetPharm has been—and remains—ready,
 willing, and able to participate in any arbitration initiated by NewMarket and to
 pay VetPharm’s share of the arbitrator’s fees.

       We thank the Court for its attention to this matter.
                                               Respectfully submitted,
                                               HARRIS BEACH PLLC
                                               /s/ Kelly Jones-Howell
                                               By: Kelly Jones-Howell
 KJH:dem
 Copies: All counsel of record (via ECF)



 3
     A copy of NewMarket’s demand for arbitration is attached as Exhibit C to this
 letter.
